     Case 3:24-cv-01265-DMS-AHG      Document 57          Filed 03/11/25   PageID.627   Page 1
                                           of 2


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 8                             UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    PADRE and JUNIOR, on behalf of                      Case No.: 3:24-cv-01265-DMS-AHG
12    themselves and all others similarly
                                                          ORDER GRANTING JOINT
      situated,
13                                                        MOTION TO CONTINUE CASE
                                        Plaintiffs,       MANAGEMENT CONFERENCE
14                                                        AND RELATED DEADLINES
      v.
15
      MVM, INC.,                                          [ECF No. 56]
16
                                      Defendant.
17
18
19          This matter comes before the Court on the parties’ Joint Motion for a Continuance
20    of the Case Management Conference and Extension of Deadlines. ECF No. 56. Good cause
21    appearing, the Joint Motion is GRANTED. The Case Management Conference (“CMC”)
22    is hereby CONTINUED to April 11, 2025 at 2:30 p.m. before Magistrate Judge
23    Allison H. Goddard.
24          The CMC shall take place via videoconference using the Court’s official Zoom
25    account. The Court incorporates by reference the videoconference procedures set forth in
26    ECF No. 32 at 3–5. Appearance of the parties at the CMC is not required. Court staff will
27    circulate a Zoom invitation to all counsel of record at least one day prior to the CMC.
28          The Court RESETS the following deadlines related to the CMC:

                                                      1
                                                                                3:24-cv-01265-DMS-AHG
     Case 3:24-cv-01265-DMS-AHG       Document 57       Filed 03/11/25   PageID.628   Page 2
                                            of 2


 1                 A.    Counsel for the parties must meet and confer pursuant to Fed. R. Civ.
 2                       P. 26(f) no later than March 21, 2025.
 3                 B.    The parties must file a Joint Case Management Statement by
 4                       April 4, 2025. The Joint Case Management Statement must address
 5                       all points in the “Joint Case Management Statement Requirements for
 6                       Magistrate Judge Allison H. Goddard,” which can be found on the
 7                       court website at:
 8                       https://www.casd.uscourts.gov/Judges/goddard/docs/Goddard%20Join
 9                       t%20Case%20Management%20Statement%20Rules.pdf.
10                 C.    Initial disclosures pursuant to Rule 26(a)(1)(A-D) must occur by
11                       April 4, 2025.
12          All participants shall display the same level of professionalism during the CMC as
13    if they were attending in person, including by dressing in appropriate courtroom attire and
14    being seated indoors prepared to appear on camera. Because Zoom may quickly deplete
15    the battery of a participant’s device, each participant should ensure that their device is
16    plugged in or that a charging cable is readily available during the video conference.
17          IT IS SO ORDERED.
18    Dated: March 11, 2025
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